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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

AARON EDDY MOSES, : Civil Action No.:
Plaintiff,

v. "CLASS ACTION COMPLAINT

ATLANTIC ADVISORS, INC.,

Defendant(s).

 

Plaintiff AARON EDDY MOSES (‘Plaintiff’), by and through his attorneys,
Edward B. Geller, Esq., P.C., as and for its Complaint against the Defendant
ATLANTIC ADVISORS, INC. (hereinafter referred to as “Defendants”), respectfully sets

forth, complains and alleges, upon information and belief, the following:

INTRODUCTION/PRELIMINARY STATEMENT

1. Plaintiff brings this action on his own behalf for damages and declaratory and
injunctive relief arising from the Defendant's violation(s) of §1692 et seq. of Title 15 of the
United States Code, commonly referred to as the Fair Debt Collections Practices Act
(“FEDCPA").

PARTIES

Z. Plaintiff AARON EDDY MOSES is a resident of the State of New Jersey,
residing at 780 Bowyer Avenue, Long Branch, New Jersey 07740-4855.

3. Defendant, ATLANTIC ADVISORS, INC. is a New Jersey corporation

engaged in the business of debt collection with its address at 710 Mattison Avenue,
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Asbury Park, New Jersey 07712.
4. Plaintiff is a "consumer" as defined by the FDCPA, 15 USC § 1692 a (3).
5. The Defendant is a “debt collector’ as the phrase is defined and used in the
FDCPA under 15 USC §1692a (6).

JURISDICTION AND VENUE

 

6. The Court has jurisdiction over this matter pursuant to 28 USC §13371, as well
as 15 USC §1692 ef seg. and 28 U.S.C. §2201. If applicable, the Court also has pendent
jurisdiction over the state law claims in this action pursuant to 28 U.S.C. §1367(a).

7. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

 

ALLEGATIONS FOR CLASS ACTION

8. Plaintiff brings this action as a class action, pursuant to Federal Rules of Civil
Procedure (“FRCP”) Rule 23, on behalf of himself and all persons/consumers, along with
their successors-in-interest, who have received similar debt collection notices and/or
letters/communications from Defendant which, as alleged herein, are in violation of the
FDCPA, as of the date of Plaintiff's Complaint (the “Class”). Excluded from the Class is
Defendant herein, and any person, firm, trust, corporation, or other entity related to or
affiliated with the defendant, including, without limitation, persons who are officers,
directors, employees, associates or partners of Defendant. Upon information and belief,
hundreds of persons have received debt collection notices and/or letters/communications
from Defendant, which violate various provisions of the FDCPA.

9. This Class satisfies all the requirements of FRCP Rule 23 for maintaining a
class action.

10. |The Class is so numerous that joinder of all members is impracticable. Upon
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information and belief, hundreds of persons have received debt collection notices and/or
letters/communications from Defendant, which violate various provisions of the FDCPA.

11. | The debt collection notices and/or letters/communications from Defendant,
received by the Class, are to be evaluated by the objective standard of the hypothetical
“least sophisticated consumer.”

12. There are questions of law and fact which are common to the Class and
which predominate over questions affecting any individual Class member. These common
questions of law and fact include, without limitation: (i) Whether Defendant violated various
provisions of the FDCPA; (ii) Whether Plaintiff and the Class have been injured by
Defendant’s conduct; (c) Whether Plaintiff and the Class have sustained damages and are
entitled to restitution as a result of Defendant’s wrongdoing and, if so, what is the proper
measure and appropriate statutory formula to be applied in determining such damages and
restitution; and, (iv) Whether Plaintiff and the Class are entitled to declaratory and/or
injunctive relief.

13. Plaintiffs claims are typical of the claims of the Class, and Plaintiff has no
interests adverse or antagonistic to the interests of other members of the Class.

14. A class action is superior to other methods for the fair and efficient
adjudication of the claims herein asserted, this being specifically envisioned by Congress
as a principal means of enforcing the FDCPA, as codified by 15 U.S.C. § 1692(k).

15. |The members of the Class are generally unsophisticated individuals, whose
rights will not be vindicated in the absence of a class action.

16. Prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications resulting in the establishment of
 

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inconsistent or varying standards for the parties.

17. A class action will permit a large number of similarly situated persons to
prosecute their common claims in a single forum simultaneously, efficiently, and without
the duplication of effort and expense that numerous individual actions would engender.
Class treatment also will permit the adjudication of relatively small claims by many Class
members who could not otherwise afford to seek legal redress for the wrongs complained
of herein.

18. Plaintiff will fairly and adequately represent the Class members’ interests, in
that the Plaintiff's counsel is experienced and, further, anticipates no impediments in the
pursuit and maintenance of the class action as sought herein.

19. Absent aclass action, the Class members will continue to suffer losses borne
from Defendant's breaches of Class members' statutorily protected rights as well as
monetary damages, thus allowing and enabling: (a) Defendant’s conduct to proceed and;
(b) Defendant to further enjoy the benefit of its ill-gotten gains.

20. Defendant has acted, and will act, on grounds generally applicable to the
entire Class, thereby making appropriate a final injunctive relief or corresponding
declaratory relief with respect to the Class as a whole.

FACTUAL ALLEGATIONS

 

21. Plaintiff repeats, reiterates and incorporates the allegations contained in
paragraphs numbered “1” through “20” herein with the same force and effect as if the same
were set forth at length herein.

22. Upon information and belief, Defendant, on behalf of a third-party, began

efforts to collect an alleged consumer debt from the Plaintiff.
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23. Upon information and belief, and better known to the Defendant, the
Defendant began its collection efforts and campaign of communications with the Plaintiff by
sending Plaintiff a collection notice dated August 1, 2014.

24. Defendant’s notice arrived by United States mail at Plaintiffs home in an
envelope on which Plaintiffs Account number of “NA645776-6,” and Plaintiff's name
and address were visible. A copy of said notice is attached hereto as Exhibit “A.”

25. Defendant's notice identified Plaintiff's account number, statement date
and informed Plaintiff that he owed $708.15.

26. Defendant’s notice bore the heading “48 HOUR NOTICE.”

27. Defendant's notice stated: “You have forty-eight hours in which to make a
decision. 1. Pay the full amount immediately. 2. Contact this office to make
arrangements. If you take no action within the time extended to you, we will have no
alternative but to continue our collection effort to protect our client’s interest.”

FIRST CAUSE OF ACTION
(Violations of the FDCPA)

28. Plaintiff repeats, reiterates and incorporates the allegations contained in
paragraphs numbered “1” through “27” herein with the same force and effect as if the same
were set forth at length herein.

29. 15 USC §1692 f—preface prohibits a debt collector from using any unfair or
unconscionable means in connection with the collection of a debt.

30. Defendant violated 15 USC §1692 f—preface by unfairly and
unconscionably sending “48 HOUR” notices to consumers exemplified by notice to
Plaintiff dated August 1, 2014, which warn them that they have “forty eight hours in

which to make a decision” regarding payment of an alleged debt, when Defendant has
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no way of knowing when the consumer will receive Defendant’s notice and warning in
the mail in order to enforce said warning. Defendant's threat if Plaintiff is unable or
unwilling to respond in “forty-eight hours” is that they will continue collection to “protect
our client’s interest.” Defendant’s notice unfairly implies that Plaintiff is causing harm to
their client and protection is necessary while creating a false sense of urgency by
pressuring Plaintiff to make a decision, language used with the intention to unfairly
cause consumers distress.

31. 15 USC §1692 f (8) prohibits a debt collector from using any language or
symbol, other than the debt collector's address, on any envelope when communicating
with a consumer by use of the mails or by telegram, except that a debt collector may
use his business name if such name does not indicate that he is in the debt collection

business.

32. Defendant unfairly and improperly created notices for mass-distribution to
consumers and Plaintiff which were mailed in envelopes upon which consumer’s and
Plaintiffs account numbers were visible. According to Douglass v. Convergent
Outsourcing, 963 F. Supp. 2d 440 (E.D. Pa., 2013), the United States District Court for
the Eastern District of Pennsylvania held that the account number is a core piece of
information pertaining to Plaintiff's status as a debtor and Defendant’s debt collection
effort. Disclosed to the public, it could be used to expose her financial predicament. As
the Court found: "[Defendant] insists that [Plaintiffs] account number is a meaningless
string of numbers and letters, and its disclosure has not harmed and could not possibly
harm [Plaintiff]. But the account number is not meaningless---it is a piece of information

capable of identifying [Plaintiff] as a debtor. And its disclosure has the potential to
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cause harm to a consumer that the FDCPA was enacted to address. As we have stated
before, the FDCPA "must be broadly construed in order to give full effect to [Congress's
remedial] purposes." Caprio, 709 F.3d at 148. Construing § 1692f(8) in accord with the
FDCPA's purposes in § 1692(a), we find the statute not only proscribes potentially
harassing and embarrassing language, but also protects consumers’ identifying
information. Accordingly, [Plaintiff's] account number is impermissible language or

symbols under § 1692f(8)."

33. As a result of Defendant’s violations of the FDCPA, Plaintiff has been
damaged and is entitled to damages in accordance with the FDCPA.
DEMAND FOR TRIAL BY JURY
34. Plaintiff hereby respectfully requests a trial by jury for all claims and issues
in its Complaint to which it is or may be entitled to a jury trial.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands judgment from the Defendants as follows:
A. For actual damages provided and pursuant to 15 USC §1692k (a) (1);
B. For statutory damages provided and pursuant to 15 USC §1692(2)(A);
C. For statutory damages provided and pursuant to 15 USC§1692k(2)(B);
D. For attorneys’ fees and costs provided and_ pursuant
to15USC§1692(a)(3);
E. A declaration that the Defendant’s practices violated the FDCPA;
F. For any such other and further relief, as well as further costs,

expenses and disbursements of this action, as this Court may deem just and proper.
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Dated:

To:

July 8, 2015

Respectfully submitted,

 

EDWARD B. GELLER, ESQ., P.C.

By Lt arth fem Esq.

Edward B. Geller, Esq. (EG9763)

 

Attorney for the Plaintiff AARON EDDY MOSES

Atlantic Advisors, Inc.
710 Mattison Avenue
Asbury Park, New Jersey 07712

(Via Prescribed Service)

Clerk of the Court,

United States District Court, District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street Room 2020

Trenton, New Jersey 08608

(Via Electronic Court Filing)
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EXHIBIT “A”
: : Date: 08/01/2014
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PO Box 841
Asbury Park, NJ 07712-0841 Balance to pay in full: $ 708.15
ADDRESS SERVICE REQUESTED Regarding: NJ NATURAL GAS CO

Write amount enclosed here: $ Ee

NA645776-6 01-2-0357/05-01482

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AARON "EDDIE" MOSES ATLANTIC ADVISORS, INC.

780 BOWYER AVE PO BOX 841

LONG BRANCH NJ 07740-4855 ASBURY PARK, Nu 07712-0841

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Questions about your statement? Contact us at 732/774-7722.

Please detach below, remove stub at left, and return this portion with your payment. Keep the bottom part for your records.

 

 

Account Number | Statement Date Balance Due ~ Date Paid Amount Paid Check Number
NA645776-6 08/01/2014 $ 708.15

 

 

 

 

 

48 HOUR NOTICE
You have forty eight hours in which to make a decision:
1. Pay the full amount immediately.
2. Contact this office to make arrangements.

If you take no action within the time extended to you, we will have no alternative but to continue our
collection effort to protect our client's interest.

This is a communication from a debt collector. This is an attempt to collect a debt. Any
information obtained will be used for that purpose.

if payment is being made by check, and the check is returned for whatever reason, a charge of
$10.00 will be applied to the account to cover the cost of a bad check fee.
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FIRST-CLASS MAIL
U.S, POSTAGE
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ADDRESS SERVICE REQUESTED

NA645776-6 01-2-0357/05-01482
** AUTO PRESORTED

AARON SEDDIE” MOSES

780 BOWYER AVE

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Questions about your statement? Contact us at 732/774-7722.

 
